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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ADRIAN HEILBUT, et al.,

                                Plaintiff(s),                  __-cv-______
                                                               24    05948 (JLR)

                    -against-                           CIVIL CASE MANAGEMENT
                                                         PLAN AND SCHEDULING
CASSAVA SCIENCES,
                                                                 ORDER
INC., et al.,
                                Defendant(s).


JENNIFER L. ROCHON, United States District Judge:
       This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance
with Federal Rule of Civil Procedure 26(f)(3).

                                                   ✔ to conducting all further proceedings
   1. All parties [consent ____/ do not consent ___]
      before a United States Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c).
      The parties are free to withhold consent without any adverse substantive consequences.
      >,IDOOSDUWLHVFRQVHQWWKHUHPDLQLQJSDUDJUDSKVQHHGQRWEHFRPSOHWHGDWWKLVWLPH
      ,QVWHDGZLWKLQWKUHHGD\VRIVXEPLWWLQJWKLV3URSRVHG&DVH0DQDJHPHQW3ODQDQG
      6FKHGXOLQJ2UGHUWKHSDUWLHVVKDOOVXEPLWWRWKH&RXUWDIXOO\H[HFXWHG1RWLFH&RQVHQW
      DQG5HIHUHQFHRID&LYLO$FWLRQWRD0DJLVWUDWH-XGJHDYDLODEOHDW
      https://nysd.uscourts.gov/sites/default/files/2018-06/AO-3.pdf@

                                    ✔ have not ___] taken place. Counsel for the parties
   2. Settlement discussions [have ____/
      have discussed an informal exchange of information in aid of early settlement in this case
      and have agreed upon the following: __________________________________________
                                           N/A
      ________________________________________________________________________
      _______________________________________________________________________

                         ✔ have not ___] conferred pursuant to Federal Rule of Civil
   3. The parties [have ____/
      Procedure 26(f).

                          ✔ have not ___] conferred about the basis of subject-matter
   4. The parties [have ____/
      jurisdiction and agree that subject-matter jurisdiction exists.

   5. Initial Disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1) shall be
      completed no later than ___________________.
                               01/06/2025               >$EVHQWH[FHSWLRQDOFLUFXPVWDQFHVD
      GDWHQRWPRUHWKDQGD\VDIWHUWKHSDUWLHV¶FRQIHUHQFHSXUVXDQWWR)HGHUDO5XOHRI
      &LYLO3URFHGXUH I @
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 Unless a party amends a pleading as a matter of course pursuant to Federal Rule of Civil
   Procedure 15(a)(1), amended pleadings may not be filed and additional parties may not
   be joined except with leave of the Court. Any motion for leave to amend or join
   additional parties shall be filed no later than ___________________.
                                                   01/06/2025           >$EVHQW
   H[FHSWLRQDOFLUFXPVWDQFHVDGDWHQRWPRUHWKDQGD\VIROORZLQJWKHGDWHRIWKLV
   2UGHU@

 Fact Discovery

       D Initial requests for production of documents shall be served no later than
          ___________________.
          01/13/2025

       E Interrogatories shall be served no later than GD\VSULRUWRWKHFORVHRIDOOGLVFRYHU\

       F Requests to admit shall be served no later than GD\VSULRUWRWKHFORVHRIDOOGLVFRYHU\

       G Depositions shall be completed no later than _________________.
                                                       07/03/2025

       H All fact discovery shall be completed no later than ___________________.
                                                              07/03/2025
          >$SHULRGQRWWRH[FHHGGD\VIURPWKHGDWHRIWKLV2UGHUXQOHVVDSSURYHGE\
          WKH&RXUWGXHWRH[FHSWLRQDOFLUFXPVWDQFHV@

       I Any of the deadlines in paragraphs 7(a)-(d) may be extended by the written
          consent of all parties without application to the Court, provided that all fact
          discovery is completed by the date set forth in paragraph 7(e).

 Expert Discovery, if any

       D Plaintiff’s expert disclosures pursuant to Federal Rule of Civil Procedure 26(a)(2)
          shall be made no later than __________________________.
                                       07/17/2025

       E Defendant’s expert disclosures pursuant to Federal Rule of Civil Procedure
          26(a)(2) shall be made no later than __________________________.
                                               08/15/2025

       F All expert discovery, including expert reports and depositions, shall be completed
          no later than _____________________.
                        08/28/2025                  >$EVHQWH[FHSWLRQDOFLUFXPVWDQFHVD
          GDWHQRODWHUWKDQGD\VIURPWKHHQGRIIDFWGLVFRYHU\GHDGOLQHVHWIRUWKLQ
          SDUDJUDSK H @

       G The interim deadlines in paragraphs 8(a)-(b) may be extended by the written
          consent of all parties without application to the Court, provided that expert
          discovery is completed by the date set forth in paragraph 8(c).
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9. [,IDSSOLFDEOH] The plaintiff(s) shall provide HIPAA-compliant medical records release
   authorizations to the defendant(s) no later than __________________.
                                                    N/A

10. All motions and applications shall be governed by the Court’s Individual Rules and
    Practices in Civil Cases, the Federal Rules of Civil Procedure, and the Local Rules of the
    United States District Courts for the Southern District of New York. Any extensions of
    the dates therein must be approved by the Court.

11. Any discovery disputes shall be addressed according to Section 2(E) of the Court’s
    Individual Rules and Practices in Civil Cases.

12. All discovery must be completed no later than ___________________.
                                                    08/28/2025         >7KLVGDWHVKRXOG
    EHWKHODWHURIWKHGDWHVLQSDUDJUDSKV H DQG F DERYH@

13. No later than one week after the close of fact discovery, counsel for all parties must meet
    for at least one hour to discuss settlement and file a joint letter updating the Court on the
    status of the case, including but not limited to confirming that the one-hour settlement
    discussion occurred and stating whether all parties consent to mediation or a settlement
    conference to be held before the designated Magistrate Judge. The letter should not
    identify, explicitly or implicitly, any party that has declined to so consent. The use of any
    alternative dispute resolution mechanism does not stay or modify any date of this Order.

                                                                          September 25, 2025 at
14. The Court will conduct a post-discovery pre-trial conference on __________________
      10:30 a.m. [7REHFRPSOHWHGE\WKH&RXUW] No later than one week in advance of the
    __________.
    conference, the parties are to submit a joint two-page letter updating the Court on the
    status of the case, including proposed deadlines for pretrial submissions and trial dates.
    This conference will either serve as a pre-motion conference or will be used to set a trial
    date and dates for pretrial submissions. If a party wishes to move for summary judgment
    or to exclude expert testimony, it must, no later than three weeks before the conference,
    file a letter as set forth in Section 3(I) of the Court’s Individual Rules and Practices in
    Civil Cases, and any response letter shall be filed no later than two weeks before the
    conference.

15. Unless otherwise ordered by the Court, the parties shall submit a Joint Pretrial Order
    prepared in accordance with Federal Rule of Civil Procedure 26(a)(3) and other pretrial
    submissions pursuant to the Court’s Individual Rules and Practices in Civil Cases within
    30 days of any decision on a summary judgment motion.

16. The parties shall be ready for trial as of two weeks following the deadline for the
    proposed Joint Pretrial Order, even if trial is tentatively scheduled for a later date.

                 ✔ is not ___] to be tried to a jury.
17. The case [is ___/
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   Counsel for the parties have conferred and their best estimate of the length of trial is
      _____________.
      5-8 days

   Other issues to be addressed at the Initial Case Management Conference, including those
      set forth in Federal Rule of Civil Procedure 26(f)(3), are set forth below:
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
      ________________________________________________________________________
   Counsel for the Parties:
       Plaintiffs Heilbut, Brodkin, and            Defendants:
       Milioris: Isaac B. Zaur,                    J. Erik Connolly, Caitlin A. Kovacs,
       David Kumagai, Amanda Wong,                 Michael Silverstein, Michael Vatis
       Dan Wachtell.
       Plaintiffs Bredt and Pitt: Jeffrey
       A. Simes, Meghan K. Spillane

                                                             September 25, 2025 at
   The next case management conference is scheduled for ___________________
         10:30 a.m.
      _______________. [7REHFRPSOHWHGE\WKH&RXUW]


           This Order may not be modified or the dates herein extended, except by further Order
   of the Court for good cause shown (except as provided in paragraphs 7(f) and 8(d)). Any
   application to modify or extend the dates herein shall be made in a written application in
   accordance with the Court’s Individual Rules and Practices and shall be made no less than
   two business days prior to the expiration of the date sought to be extended.

Dated: December 13, 2024
       New York, New York
                                                         JENNIFER L. ROCHON
                                                         United States District Judge
